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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            )   Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                )   (Joint Administration Requested)
                                                                      )   (Emergency Hearing Requested)

                        DEBTORS’ EMERGENCY MOTION FOR
                       ENTRY OF INTERIM AND FINAL ORDERS
                 (I) AUTHORIZING THE DEBTORS TO (A) CONTINUE
                 TO OPERATE THEIR CASH MANAGEMENT SYSTEM
             AND MAINTAIN EXISTING BANK ACCOUNTS, (B) MAINTAIN
          EXISTING BOOKS AND RECORDS, AND (C) CONTINUE TO PERFORM
        INTERCOMPANY TRANSACTIONS AND (II) GRANTING RELATED RELIEF

             Emergency relief has been requested. A hearing will be conducted on this matter
             on June 7, 2021, at 3:30 p.m. (prevailing Central Time), in Courtroom 400, 4th
             floor, 515 Rusk, Houston, Texas 77002. You may participate in the hearing
             either in person or via audio/video connection.
             Audio communication will be by use of the Court’s dial-in facility. You may access
             the facility at (832) 917-1510. You will be responsible for your own long distance
             charges. Once connected, you will be asked to enter the conference room
             number. Judge Jones’ conference room number is 205691.
             You may view video via GoToMeeting. The Court recommends that you download
             the free GoToMeeting application to use GoToMeeting. Enter the meeting
             code “JudgeJones” in the GoToMeeting app or click the link on Judge Jones’ home
             page on the Southern District of Texas website in order to connect to the hearing.
             Once connected, click the settings icon in the upper right corner and enter your
             name under the personal information setting.
             Hearing appearances must be made electronically in advance of the hearing. You
             can make your electronic appearance on the Southern District of Texas website,
             selecting “Bankruptcy Court” from the top menu. Select “Judges’ Procedures”
             then “View Home Page” for Judge Jones. Under “Electronic Appearance,” select
             “Click here to submit Electronic Appearance.” Select the case name, complete the
             required fields, and then click “Submit” to complete your appearance.



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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
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       If you object to the relief requested or you believe that emergency consideration is not
       warranted, you must either appear at the hearing or file a written response prior to
       the hearing. Otherwise, the Court may treat the pleading as unopposed and grant the
       relief requested.
       Relief is requested not later than June 7, 2021.

       The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (this “Motion”):

                                         Relief Requested

       1.      The Debtors seek entry of interim and final orders, substantially in the forms

attached hereto, respectively, authorizing the Debtors to: (a) operate their cash management

system, as described herein and as illustrated on Exhibit A attached hereto, and maintain their

existing bank accounts, including honoring certain prepetition obligations related thereto;

(b) continue intercompany transactions and funding consistent with the Debtors’ historical

practices, subject to the terms described herein; and (c) granting related relief.

       2.      In addition, the Debtors request that the Court schedule a final hearing within

approximately 21 days after the commencement of these chapter 11 cases, or as soon thereafter as

is convenient for the Court, to consider approval of this Motion on a final basis.

                                      Jurisdiction and Venue

       3.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent, pursuant to rule

7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a

final order by the Court.

       4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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        5.       The bases for the relief requested herein are sections 105, 345, 362, 363, and 553 of

title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 6003 and 6004, and

rule 9013-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy

Local Rules”).

                                                Background

        6.       Katerra Inc., together with its Debtor and non-Debtor subsidiaries (“Katerra”), is a

technology-driven construction company that develops, manufactures, and markets products and

services in the commercial and residential construction spaces. Katerra delivers a comprehensive

suite of products and services for its clients through a distinct model that combines end-to-end

integration with significant investment in technological and design innovation. Katerra offers

services to its clients through three distinct offerings: (a) end-to-end new build; (b) construction

services; and (c) renovations. Katerra has approximately 6,400 employees who are primarily

located in nine countries. In the year ending 2020, Katerra’s operations generated revenue of

approximately $1.75 billion.

        7.       On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. A detailed description surrounding the facts and

circumstances of these chapter 11 cases is set forth in the Declaration of Marc Liebman in Support

of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”)2 and the Declaration

of Matthew R. Niemann in Support of (A) DIP Financing and (B) All First Day Relief filed

contemporaneously with this Motion and incorporated by reference herein. As described in more

detail in the First Day Declaration, the Debtors commenced these chapter 11 cases in the face of a



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    Capitalized terms used but not otherwise defined in this Motion shall have the meanings given to them in this
    Motion or the First Day Declaration, as applicable.


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liquidity crisis and with the goal of facilitating a marketing and sale process for their assets to

maximize value and creditor recoveries.

       8.      The Debtors are operating their businesses and managing their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

Concurrently with the filing of this Motion, the Debtors have requested procedural consolidation

and joint administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b).

No request for the appointment of a trustee or examiner has been made in these chapter 11 cases,

and no committees have been appointed or designated.

                                The Cash Management System

I.     Overview.

       9.      In the ordinary course of business, the Debtors maintain an integrated, centralized

cash management system (the “Cash Management System”) comparable to the centralized cash

management systems used by similarly situated companies to manage the cash of operating units

in a cost-effective, efficient manner. The Debtors use the Cash Management System in the

ordinary course of business to collect, transfer, and disburse funds generated from operations and

to facilitate cash monitoring, forecasting, and reporting. The Cash Management System allows

the Debtors to control funds, ensure cash availability for each operating entity, and reduce

administrative costs by facilitating the movement of funds among multiple entities. The Debtors’

treasury department maintains daily oversight over the Cash Management System and implements

cash management controls for entering, processing, and releasing funds, including in connection

with Intercompany Transactions (as defined below).

       10.     Given the economic and operational scale of the Debtors’ businesses, any

disruption to the Cash Management System would have an immediate and significant adverse

effect on the Debtors’ businesses and operations to the detriment of their estates and numerous

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stakeholders. Accordingly, to minimize the disruption caused by these chapter 11 cases and to

maximize the value of the Debtors’ estates, the Debtors request authority to continue to use their

existing Cash Management System during the pendency of these chapter 11 cases, subject to the

terms described herein.

II.       The Bank Accounts.

          11.       The Debtors’ Cash Management System is comprised of 44 bank accounts (each,

a “Bank Account” and, collectively, the “Bank Accounts”), each of which is identified on

Exhibit B attached hereto. The Debtors’ Bank Accounts are held with seven banks (such banks,

collectively, the “Cash Management Banks”).                 Funds are transferred between Debtor Bank

Accounts in the ordinary course of business to satisfy accounts payable, including taxes, employee

payroll, and other operational expenses.

          12.       The following Bank Accounts are held by Debtor entities:

                   13 Bank Accounts owned by Katerra Construction LLC;

                   12 Bank Accounts owned by Katerra Inc. (Delaware);

                   6 Bank Accounts owned by Dangoo Electronics (USA) Co., Ltd.;

                   5 Bank Accounts owned by Katerra Architecture LLC;

                   4 Bank Accounts owned by Skyview Concrete LLC;

                   1 Bank Account owned by Katerra Inc. (Cayman);

                   1 Bank Account owned by Lord, Aeck & Sargent, Inc.; and

                   2 Bank Accounts owned by UEB Builders, Inc.

          13.       The Bank Accounts generally fall into one of a number of categories, each of which

is briefly described in the following table:3


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      These descriptions of Bank Account types are for illustrative purposes only. A single Bank Account may fall
      into more than one of the categories described above.


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           Accounts                                         Description of Accounts
 Concentration Accounts        The Debtors currently maintain three Bank Accounts at Wells Fargo Bank, N.A.
                               (“Wells Fargo”) that serve as concentration accounts for the Debtors’ customer
 Wells Fargo                   receipts (collectively, the “Concentration Accounts”). Cash moves throughout
 x5536                         the Cash Management System into the Concentration Accounts. Debtor Katerra
 x1068                         Inc. (Delaware) maintains the main Concentration Account ending in 5536
 x1010                         (the “Delaware Concentration Account”). The other Concentration Accounts
                               are maintained by Debtors Katerra Construction LLC and Katerra
                               Architecture LLC.

 Cayman Account                The Debtors currently maintain one account at Wells Fargo that has historically
                               received distributions from SB Investment Advisors (UK) Limited
 Wells Fargo                   (the “Cayman Account”). Funds held in the Cayman Account are transferred
 x5544                         into the Delaware Concentration Account as needed to fund the Debtors’
                               operations.

 Collection Accounts           At almost every business unit, the Debtors maintain Bank Accounts that collect
                               and hold the Debtors’ receivables from operations (the “Collection Accounts”).
                               Typically, revenue collected from customer payments in the Collection
                               Accounts is automatically swept into the Concentration Accounts on a daily
                               basis. Revenue held in the Collection Account maintained by Debtor UEB
                               Builders, Inc. is manually deposited into Concentration Accounts on a daily
                               basis.

 Accounts Payable              At almost every business unit, the Debtors maintain Bank Accounts that disburse
                               funds related to the Debtors’ operations, including via electronic transactions,
                               wire, and check, on account of operating expenses, materials, supplies,
                               subcontractor payments, taxes, general corporate overhead expenses, and bank
                               fees and expenses.

 Payroll Account               The Debtors maintain a Bank Account that funds payroll expenses for the
                               Debtors’ employees (the “Payroll Account”).
 Wells Fargo
 x0847

 Insurance Benefits Account    The Debtors maintain one Bank Account that funds claims associated with the
                               Debtors’ health benefits through Collective Health.
 Wells Fargo
 x4459


III.   Bank Fees.

       14.     The Debtors incur periodic service charges and other fees in connection with the

maintenance of the Cash Management System (“Bank Fees”). The majority of the Bank Fees are

due and paid to the Cash Management Banks on a monthly basis and any meaningful fluctuations

are determined by the wire activity of the month prior. Other Bank Fees are charged per transaction


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at the time the transaction takes place. While these fees fluctuate month to month, on average the

Debtors pay approximately $15,000 to $20,000 per month in Bank Fees. As of the Petition Date,

the Debtors estimate they owe approximately $20,000 in Bank Fees to the Cash Management

Banks, all of which will come due and payable within the first twenty-one days of the Debtors’

chapter 11 cases. Accordingly, the Debtors seek authority to continue paying Bank Fees, including

any Bank Fees that are owed as of the Petition Date, in the ordinary course on a postpetition basis,

consistent with historical practices.

IV.    Fuel Cards.

       15.     As part of the Cash Management System, the Debtors provide certain employees

with credit cards to cover expenses incurred in the ordinary course of business in connection with

their employment. Specifically, the Debtors have historically maintained a handful of fuel cards

(collectively, the “Fuel Cards”) that are legacy cards from previous acquisitions. The Fuel Cards

are typically used by employees for fuel costs incurred while working on certain projects. The

Fuel Cards accrue a de minimis amount each month. Such expenses are billed directly to the

Debtors and do not pass through the applicable employee’s personal financial account.

       16.     The Fuel Cards are an integral part of the Debtors’ cash management and account

functions. The ability of the Debtors to use the Fuel Cards are essential to the continued operation

of the Debtors’ business, corporate administration thereof, and related-travel obligations.

Accordingly, the Debtors’ inability to maintain the Fuel Cards would result in unnecessary

hardship on the continued operation of the Debtors’ business during this critical juncture.

       17.     Out an abundance of caution, the Debtors seek authorization to continue honoring

obligations under the Fuel Cards on a postpetition basis in the ordinary course of business

consistent with prepetition practices. For the avoidance of doubt, the Debtors do not seek authority

to pay any prepetition amounts owed under the Fuel Cards.
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V.      Compliance with the U.S. Trustee Guidelines and the Bankruptcy Code.

     A. U.S. Trustee Authorized Depositaries.

        18.     The Operating Guidelines and Reporting Requirements for Debtors in Possession

and Trustees (the “U.S. Trustee Guidelines”) generally require chapter 11 debtors to, among other

things, deposit all estate funds into an account with an authorized depository that agrees to comply

with the requirements of the Office of the United States Trustee for the Southern District of Texas

(the “U.S. Trustee”). Three of the Cash Management Banks, including Bank of America, N.A.,

Citibank, N.A., and Wells Fargo, where the Debtors maintain 38 of their Bank Accounts—have

branches that are authorized depositories under the U.S. Trustee Guidelines, while the remaining

Cash Management Banks and branches—at which the Debtors maintain six of the Bank

Accounts4—do not.

        19.     The Cash Management System holds funds at seven different banks. The vast

majority of the Bank Accounts are maintained at highly rated, global financial institutions that are

widely recognized as well-capitalized and financially stable. The principal basis for the exclusion

of certain of these financial institutions from the U.S. Trustee Guidelines is location, not financial

soundness or stability. The Debtors believe that these financial institutions are well-positioned to

perform the depository and cash management functions during the chapter 11 cases. Given the

global scope of the Debtors’ operations and cash management requirements, it is not feasible to

consolidate all cash activities to the narrow group of financial institutions approved in the U.S.

Trustee Guidelines. The Cash Management System is complex and critical to the ongoing stability

of the Debtors’ businesses and transition into chapter 11. Requiring the Debtors to transfer any of




4
     These Cash Management Banks include Bridge Bank, N.A., HSBC Holdings PLC, Institutional Cash
     Distributors LLC (ICD), and TD Bank, N.A.


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the above-described Bank Accounts to a designated authorized depository would place a needless

and excessive administrative burden on the Debtors and impose significant, value destructive costs

to the Debtors’ estates. Accordingly, cause exists to allow the Debtors to continue using the

existing Bank Accounts consistent with historical practices. The Debtors will work in good faith

with the U.S. Trustee to address any concerns regarding the continued use of these accounts on a

postpetition basis.

      B. Business Forms and Books and Records.

         20.   As part of the Cash Management System, the Debtors use a variety of preprinted

business forms (including checks, letterhead, correspondence forms, invoices, and other business

forms) in the ordinary course of business (collectively, the “Business Forms”). The Debtors also

maintain books and records to document their financial results and a wide array of operating

information (collectively, the “Books and Records”). To avoid a significant disruption to their

ongoing projects and Cash Management System and to avoid unnecessary expense, the Debtors

request authorization, subject to the limitations set forth in the Interim Order and Final Order, to

continue using all of the Business Forms and Books and Records in use immediately before the

Petition Date, including with respect to the Debtors’ ability to update authorized signatories and

services, as needed—without reference to the Debtors’ status as chapter 11 debtors in possession—

rather than requiring the Debtors to incur the expense and delay of ordering new Business Forms

and creating new Books and Records.

VI.      Subcontractor Payments.

         21.   In the ordinary course of business, the Debtors engage subcontractors to provide

goods and services necessary for completion of the Debtors’ ongoing construction projects. In

turn, the Debtors pay the subcontractors with funds received from the project owners

(the “Subcontractor Payments”). Subcontractor Payments cannot be made unless and until the

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customer pays the Debtors. When the Debtors receive the Subcontractor Payments, until those

funds are paid to the applicable subcontractor, the Debtors hold those funds in constructive trust,

either pursuant to the contract or statute.5 Consequently, the Subcontractor Payments are not

property of the Debtors’ estates, and the Debtors therefore believe they are allowed to make the

Subcontractor Payments in the ordinary course. However, out of an abundance of caution, the

Debtors seek authority to continue Subcontractor Payments postpetition consistent with prepetition

practices.

        22.      On certain of the Debtors’ projects, the Debtors have joint checking agreements

that allow for funds to enter certain bank accounts that are not controlled by the Debtors (the “Joint

Checking Agreements”). As work related to the projects is completed, both the project owners

and the Debtors deposit funds on account of their respective obligations. Such funds are then

released to the subcontractors, the Debtors, and other counterparties working on the relevant

project. The Debtors seek authority to continue operating under these Joint Checking Agreements

on a postpetition basis.

VII.    The Debtors’ Intercompany Transactions.

        23.      In the ordinary course of business, the Debtors maintain routine business

relationships with other Debtor entities (the transactions pursuant to such relationships,

the “Intercompany Transactions”), which result in intercompany receivables and payables owing

between Debtors (collectively, the “Intercompany Claims”). Intercompany Transactions span a

number of categories, including: (a) intercompany cash sweeps, including sweeps to and from the

Concentration Accounts; (b) intercompany funding, including intercompany equity loans, equity

contributions, JV contributions, and dividends; (c) corporate allocations, including general


5
    See e.g. Ariz. Rev. Stat. § 33-1005 (2000); Colo. Rev. Stat. § 38-22-127(1).


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insurance, workers compensation, IT services, and rent; (d) payroll, related benefits, and credit

cards; (e) transfer pricing agreements; and (f) trade agreements.

        24.      In connection with the daily operation of the Cash Management System, as funds

are swept and disbursed throughout the Cash Management System and as business is transacted

between the Debtors, Intercompany Claims may be owing by one Debtor to another Debtor.

Intercompany Claims are not regularly settled in cash but rather are reflected as journal entry

receivables and payables, as applicable, in the respective Debtors’ accounting system. The

Debtors track all fund transfers through their accounting system and can ascertain, trace, and

account for all Intercompany Transactions.                If the Intercompany Transactions were to be

discontinued, the Cash Management System and the Debtors’ operations would be disrupted

unnecessarily to the detriment of the Debtors, their creditors, and other stakeholders.6

        25.      The Intercompany Transactions are an essential component of the Debtors’

complex global operations, and they are crucial for the Debtors’ ability to process payroll and

payments to third-party vendors, provide enterprise-wide management and support services, and

otherwise facilitate operations on a daily basis. The Debtors will be able to closely monitor and

record the Intercompany Transactions with the Cash Management System. For the avoidance of

doubt, the Debtors are not seeking relief with respect to any Intercompany Transactions between

a Debtor and non-Debtor except in compliance with any orders authorizing debtor-in-possession

financing.




6
    This Motion provides an overview of the Debtors’ typical Intercompany Transactions. The relief requested herein
    is applicable with respect to all Intercompany Transactions and is not limited to those Intercompany Transactions
    described in this Motion. To the extent that there are any outstanding prepetition obligations related to
    Intercompany Transactions not described herein, the Debtors, out of an abundance of caution, seek authority to
    honor such obligations.


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       26.     The Debtors would be unduly burdened both financially and logistically if the

Debtors were required to halt Intercompany Transactions or otherwise make material changes to

the Cash Management System. If the Intercompany Transactions were to be discontinued, the

Cash Management System and the Debtors’ operations would be disrupted unnecessarily to the

detriment of the Debtors, their creditors, and other stakeholders. The Debtors seek the authority—

and, to the extent applicable, relief from the automatic stay—to continue the Intercompany

Transactions in the ordinary course of business consistent with past practice.

                                         Basis for Relief

I.     The Court Should Approve the Debtors’ Continued Use of the Cash Management
       System as Essential to the Debtors’ Operations and Restructuring Efforts.

       27.     The U.S. Trustee Guidelines require debtors in possession to, among other things:

(a) close all existing bank accounts and open new debtor-in-possession bank accounts;

(b) establish one debtor-in-possession account for all estate monies required for payment of taxes

including payroll taxes; (c) physically set aside all monies required by law to be withheld from

employees or collected from others for taxes; (d) open a new set of books and records as of the

commencement date of the case; (e) use new business forms indicating the debtor-in-possession

status of the chapter 11 debtor, including checks that bear the designation “debtor in possession”

and reference the bankruptcy case number and type of account on such checks; and (f) make all

disbursements of estate funds by check with a notation representing the reason for the

disbursement. See Region 7 Guidelines for Debtors-in-Possession. These requirements are

intended to provide a clear line of demarcation between prepetition and postpetition transactions

and operations and to prevent inadvertent payment of prepetition claims. Considering, however,

the breadth and complexity of the Debtors’ international businesses and financial affairs and the

sheer volume of collections, disbursements, and movement of funds through the Cash


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Management System on a daily basis, enforcement of these provisions of the U.S. Trustee

Guidelines during these chapter 11 cases would severely disrupt, if not cripple, the Debtors’

worldwide operations. Accordingly, the Debtors request that the Court allow them to operate each

of the Bank Accounts that comprise the Cash Management System as each was maintained in the

ordinary course of business before the Petition Date and as described herein.

       28.     Continuation of the Cash Management System, including the Fuel Cards, is

permitted pursuant to section 363(c)(1) of the Bankruptcy Code, which authorizes a debtor in

possession to “use property of the estate in the ordinary course of business without notice or a

hearing.” 11 U.S.C. § 363(c)(1). Bankruptcy courts treat requests for authority to continue

utilizing existing cash management systems as a relatively “simple matter,” see In re

Baldwin-United Corp., 79 B.R. 321, 327 (Bankr. S.D. Ohio 1987), and have recognized that an

integrated cash management system “allows efficient utilization of cash resources and recognizes

the impracticalities of maintaining separate cash accounts for the many different purposes that

require cash.” In re Columbia Gas Sys. Inc., 136 B.R. 930, 934 (Bankr. D. Del. 1992), aff’d in

part and rev’d in part, 997 F.2d 1039 (3d Cir. 1993). As a result, courts have concluded that the

requirement to maintain all accounts separately “would be a huge administrative burden and

economically inefficient.” Columbia Gas, 997 F.2d at 1061; see also In re Southmark Corp., 49

F.3d 1111, 1114 (5th Cir. 1995) (stating that a cash management system allows a debtor “to

administer more efficiently and effectively its financial operations and assets”).

       29.     Here, requiring the Debtors to adopt a new, segmented cash management system

during these chapter 11 cases would be expensive, burdensome, and unnecessarily disruptive to

the Debtors’ worldwide operations. Importantly, the Cash Management System provides the

Debtors with the ability to, among other things, quickly assess the location and amount of funds,



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which, in turn, allows management to track and control such funds, ensure cash availability, and

reduce administrative costs through a centralized method of coordinating the collection and

movement of funds. Disruption of the Cash Management System could have an adverse effect on

the Debtors’ restructuring efforts, the cost of which would ultimately be borne by the Debtors’

creditors and other stakeholders. By contrast, maintaining the current Cash Management System

(including the Fuel Cards) will facilitate the Debtors’ smooth transition into chapter 11 by, among

other things, minimizing delays in paying postpetition debts and eliminating administrative

inefficiencies. Finally, maintaining the current Cash Management System will allow the Debtors’

treasury and accounting employees to focus on their daily responsibilities as opposed to the non-

accretive task of reconstructing the Cash Management System.

        30.     Parties in interest will not be harmed by the Debtors’ maintenance of the Cash

Management       System,     including     maintenance    of   the   Bank    Accounts     and   the

Intercompany Transactions, because the Debtors have implemented appropriate mechanisms to

ensure that Debtor entities will not make unauthorized payments on account of prepetition

obligations. In light of such protective measures, maintaining the Cash Management System is in

the best interests of their estates and creditors.

II.     The Court Should Authorize (A) the Debtors to Continue Using Debit, Wire, and
        ACH Transfers and (B) the Cash Management Banks to Continue Processing Checks,
        Wire, and ACH Transfers.

        31.     The Debtors request that the Court grant further relief from the U.S. Trustee

Guidelines to the extent they require the Debtors to make all disbursements by check. In particular

the U.S. Trustee Guidelines require that all receipts and all disbursements of estate funds must be

made by check with a notation representing the reason for the disbursement. As discussed above,

in the ordinary course of business, the Debtors conduct transactions through wires, ACH

transactions, direct deposits, credit, and other similar methods. If the Debtors’ ability to conduct
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transactions by these methods is impaired, the Debtors may be unable to perform under certain

contracts, their ongoing projects may be unnecessarily disrupted, and their estates will incur

additional costs.

       32.     The Debtors further request that the Court authorize and direct the Cash

Management Banks to receive, process, honor, and pay, to the extent funds are available in each

applicable Bank Account, any and all checks, electronic funds transfers, credit card, ACH

payments and other instructions, and drafts payable through, or drawn or directed on, such Bank

Accounts after the Petition Date by holders, makers, or other parties entitled to issue instructions

with respect thereto, irrespective of whether such checks, drafts, electronic funds transfers, credit

card, or ACH payments are dated prior or subsequent to the Petition Date. The Debtors also

request that, to the extent a Cash Management Bank honors a prepetition check or other item drawn

on any account that is the subject of this Motion, either at the direction of the Debtors or in a

good-faith belief that the Court has authorized such prepetition check or item to be honored, such

Cash Management Bank will not be deemed to be liable to the Debtors or to their estates on account

of such prepetition check or other item honored postpetition. Such relief is reasonable and

appropriate because the Cash Management Banks are not in a position to independently verify or

audit whether the Debtors may pay a particular item in accordance with a Court order or otherwise.

       33.     Considering the breadth and complexity of their international operations, the

Debtors need to conduct transactions by debit, electronic fund, ACH payments, and other similar

methods. If the Debtors are denied the opportunity to conduct transactions by debit, credit,

electronic funds transfers, ACH payments, or other methods used in the ordinary course of

business, the Debtors likely would have difficulty performing on their contracts and the Debtors’




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ongoing projects would be disrupted unnecessarily, burdening the Debtors and their creditors with

additional costs.

III.   The Court Should Authorize Payment of Fees and Prepetition Obligations Related to
       the Bank Accounts.

       34.     Courts in the Fifth Circuit have recognized that it is appropriate to authorize the

payment of prepetition obligations where necessary to protect and preserve the estate. See, e.g.,

In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002); see also In re Just for Feet, Inc.,

242 B.R. 821, 825–26 (D. Del. 1999); In re Ionosphere Clubs, Inc., 98 B.R. 174, 175–76 (Bankr.

S.D.N.Y. 1989). In so doing, these courts acknowledge that several legal theories rooted in

sections 105(a) and 363(b) of the Bankruptcy Code support the payment of prepetition claims.

       35.     Section 363(b) of the Bankruptcy Code permits a debtor, subject to court approval,

to pay prepetition obligations where a sound business purpose exists for doing so. See In re

Ionosphere Clubs, 98 B.R. at 175 (noting that section 363(b) of the Bankruptcy Code provides

“broad flexibility” to authorize a debtor to honor prepetition claims where supported by an

appropriate business justification). In addition, under section 1107(a) of the Bankruptcy Code, a

debtor in possession has, among other things, the “implied duty of the debtor-in-possession to

‘protect and preserve the estate, including an operating business’ going-concern value.’” In re

CEI Roofing, Inc., 315 B.R. 50, 59 (Bankr. N.D. Tex. 2004) (quoting In re CoServ, LLC, 273 B.R.

487, 497 (Bankr. N.D. Tex. 2002)); see also In re Equalnet Commc’ns Corp., 285 B.R. 368, 269

(Bankr. S.D. Tex. 2000) (noting that courts authorize debtors to pay, outside of a plan, prepetition

claims from “business transactions which are at once individually minute but collectively immense

and critical to the survival of the business of the debtor.”).

       36.     Courts also authorize payment of prepetition claims in appropriate circumstances

based on section 105(a) of the Bankruptcy Code, which codifies a bankruptcy court’s inherent


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equitable powers to “issue any order, process, or judgment that is necessary or appropriate to carry

out the provisions of this title.” 11 U.S.C. § 105(a). Under section 105(a) of the Bankruptcy Code,

courts may authorize pre-plan payments of prepetition obligations when essential to the continued

operation of a debtor’s businesses. See Just for Feet, 242 B.R. at 825−26. A bankruptcy court’s

use of its equitable powers to “authorize the payment of prepetition debt when such payment is

needed to facilitate the rehabilitation of the debtor is not a novel concept.” Ionosphere Clubs,

98 B.R. at 175–76 (citing Miltenberger v. Logansport, C. & S.W. Ry. Co., 106 U.S. 286 (1882)).

Indeed, at least one court has recognized that there are instances when a debtor’s fiduciary duty

can “only be fulfilled by the preplan satisfaction of a prepetition claim.” In re CoServ, 273 B.R.

at 497.

          37.   These standards are satisfied here because the payment of fees and related

prepetition obligations are necessary to maintain the Cash Management System and avoid any

disruption in the administration of the Bank Accounts. The Debtors request that the Court

authorize the Debtors to continue to pay the Bank Fees, including any prepetition Bank Fees. In

light of the material benefit of maintaining the Cash Management System in order to avoid

unnecessary disruption and costly delay, especially as compared to the relatively modest amount

of the Bank Fees, the relief requested represents a sound exercise of the Debtors’ business

judgment, is necessary to avoid immediate and irreparable harm to the Debtors’ estates, and is

therefore justified under sections 105(a) and 363(b) of the Bankruptcy Code and Bankruptcy

Rule 6003.

IV.       The Debtors Should Be Granted Authority to Use Existing Business Forms.

          38.   To avoid disruption of the Cash Management System and unnecessary expense, the

Debtors request that they be authorized to continue to use their Business Forms, substantially in

the form existing immediately before the Petition Date, without reference to their status as debtors
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in possession. Given the limited nature of the preprinted Business Forms, parties in interest will

not be prejudiced if the Debtors are authorized to continue to use their Business Forms

substantially in the forms existing immediately before the Petition Date. Parties doing business

with the Debtors undoubtedly will be aware of their status as debtors in possession and, thus,

changing forms such as letterhead would be an unnecessary additional expense and unduly

burdensome.

V.     The Court Should Authorize the Debtors to Continue Engaging in Postpetition
       Intercompany Transactions and Grant Administrative Expense Status to Postpetition
       Intercompany Transactions.

       39.     As part of the Cash Management System, the Intercompany Transactions are made

between and among Debtor affiliates in the ordinary course. Allowing the Debtors to engage in

postpetition Intercompany Transactions is in the best interests of the Debtors’ estates and their

creditors, and the Debtors seek authority to continue such Intercompany Transactions postpetition.

The Debtors will continue to maintain records of Intercompany Transactions, including records of

all current intercompany accounts receivables and payables. If the Intercompany Transactions

were to be discontinued, the Cash Management System and related administrative controls would

be disrupted to the Debtors’ and their estates’ detriment. In addition, a number of critical services

currently provided to Debtor entities on an intercompany basis would be interrupted. Continued

performance of the Intercompany Transactions is in the best interest of the Debtors’ estates and

their creditors.   Accordingly, the Debtors request the authority to continue conducting the

Intercompany Transactions in the ordinary course of business without need for further Court order.

       40.     The Debtors further request that pursuant to section 503(b)(1) of the Bankruptcy

Code, all postpetition payments between or among Debtors on account of an Intercompany

Transaction be accorded administrative expense status. This relief will ensure that each entity

receiving payments from a Debtor will continue to bear ultimate repayment responsibility for such
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transactions, thereby reducing the risk that these transactions would jeopardize the recoveries

available to each Debtor’s respective creditors.

       41.     The Debtors request that transfers made by either a Debtor to an affiliate or by an

affiliate to a Debtor, pursuant to a postpetition Intercompany Transaction, be deemed a claim

against and loan to such affiliate or Debtor, rather than a contribution of capital, except to the

extent such postpetition Intercompany Transactions are on account of antecedent debts. Such

relief is necessary to ensure that a particular Debtor’s estate will not be required to fund the

operations of other Debtors and affiliates without adequate recompense. For the avoidance of

doubt, the relief requested herein with respect to the postpetition Intercompany Transactions and

the intercompany balances resulting therefrom shall not constitute an admission of the Debtors or

any other party as to the validity, priority, or status of any prepetition intercompany balance or the

Intercompany Transaction(s) from which such intercompany balance may have arisen.

VI.    Cause Exists for Waiving the U.S. Trustee Guidelines Regarding Authorized
       Depositories on an Interim and Final Basis.

       42.     The Debtors further seek a waiver of the deposit and investment requirements set

forth in section 345 of the Bankruptcy Code, which authorizes deposit or investment of money of

estates, such as cash, as “will yield the maximum reasonable net return on such money, taking into

account the safety of such deposit or investment.” For deposits that are not “insured or guaranteed

by the United States or by a department, agency or instrumentality of the United States or backed

by the full faith and credit of the United States,” section 345(b) of the Bankruptcy Code provides

that the estate must require from the entity with which the money is deposited or invested a bond

in favor of the United States secured by the undertaking of a corporate security, “unless the court

for cause orders otherwise.”      Additionally, under the U.S. Trustee Guidelines, debtors in




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possession must, among other things, close prepetition bank accounts and open new “debtor in

possession” operating, payroll, and tax accounts at one or more Authorized Depositories.

       43.          Courts may waive compliance with the Bankruptcy Code section 345 and the U.S.

Trustee Guidelines for “cause.” In evaluating whether “cause” exists, courts have considered a

number of factors such as:

                i.         the sophistication of the debtor’s business;

               ii.         the size of the debtor’s business operations;

              iii.         the amount of the investments involved;

              iv.          the bank ratings (Moody’s and Standard & Poor) of the
                           financial institutions where the debtor in possession funds
                           are held;

               v.          the complexity of the case;

              vi.          the safeguards in place within the debtor’s own business for
                           ensuring the safety of the funds;

             vii.          the debtor’s ability to reorganize in the face of a failure of
                           one or more of the financial institutions;

             viii.         the benefit to the debtor;

              ix.          the harm, if any, to the debtor;

               x.          the harm, if any, to the estate; and

              xi.          the reasonableness of the debtor’s request for relief from
                           section 345(b) requirements in light of the overall
                           circumstances of the case.

See In re Serv. Merch. Co., Inc., 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999).

       44.          Because the Bank Accounts are vital to the Cash Management System, requiring

the Debtors to transfer funds to other banks would be unduly burdensome to the Debtors’

operations and potentially cause severe tax consequences to the detriment of the Debtors’ estates.

In addition, the vast majority of the Bank Accounts are maintained at well-capitalized, highly rated


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banks or only hold de minimis cash amounts. Therefore, cause exists to waive the U.S. Trustee

Guidelines and allow the Debtors to continue to maintain the Bank Accounts in the ordinary course

of business.

                                    Emergency Consideration

       45.     Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors request emergency

consideration of this Motion pursuant to Bankruptcy Rule 6003, which empowers a court to grant

relief within the first twenty-one days after the commencement of a chapter 11 case “to the extent

that relief is necessary to avoid immediate and irreparable harm.” The Debtors believe an

immediate and orderly transition into chapter 11 is critical to the viability of their operations and

that any delay in granting the relief requested could hinder the Debtors’ operations and cause

irreparable harm. The failure to receive the requested relief during the first twenty-one days of

these chapter 11 cases would severely disrupt the Debtors’ operations at this critical juncture and

imperil the Debtors’ restructuring. Accordingly, the Debtors have satisfied the “immediate and

irreparable harm” standard of Bankruptcy Rule 6003 and request that the Court approve the relief

requested in this Motion on an emergency basis.

                       Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       46.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                      Reservation of Rights

       47.     Nothing contained herein or any actions taken pursuant to such relief requested is

intended or shall be construed as: (a) an admission as to the amount of, basis for, or validity of

any claim against a Debtor entity under the Bankruptcy Code or other applicable nonbankruptcy

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law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Motion or any order granting the relief

requested by this Motion or a finding that any particular claim is an administrative expense claim

or other priority claim; (e) a request or authorization to assume, adopt, or reject any agreement,

contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the

validity, priority, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’, or any

other party in interest’s, rights under the Bankruptcy Code or any other applicable law; or (h) a

concession by the Debtors that any liens (contractual, common law, statutory, or otherwise) that

may be satisfied pursuant to the relief requested in this Motion are valid, and the rights of all parties

in interest are expressly reserved to contest the extent, validity, or perfection or seek avoidance of

all such liens. If the Court grants the relief sought herein, any payment made pursuant to the

Court’s order is not intended and should not be construed as an admission as to the validity of any

particular claim or a waiver of the Debtors’ or any other party in interest’s rights to subsequently

dispute such claim.

                                                Notice

        48.     The Debtors will provide notice of this Motion to the following parties or their

counsel: (a) the United States Trustee for the Southern District of Texas; (b) the holders of the 40

largest unsecured claims against the Debtors (on a consolidated basis); (c) Weil, Gotshal &

Manges LLP as counsel to the DIP Lender; (d) the Office of the United States Attorney for the

Southern District of Texas; (e) the state attorneys general for states in which the Debtors conduct

business; (f) the Internal Revenue Service; (g) the Securities and Exchange Commission; (h) the

Environmental Protection Agency and similar state environmental agencies for states in which the
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Debtors conduct business; (i) Cash Management Banks; (j) any party that has requested notice

pursuant to Bankruptcy Rule 2002; and (k) any other party entitled to notice pursuant to

Bankruptcy Local Rule 9013-1(d). In light of the nature of the relief requested, no further notice

is required.




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       The Debtors request that the Court enter the interim and final orders, granting the relief

requested in this Motion and granting such other and further relief as is appropriate under the

circumstances.

 Houston, Texas
 June 7, 2021

 /s/ Christine A. Okike
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                  christine.okike@kirkland.com


 Proposed Co-Counsel to the Debtors
 and Debtors in Possession
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                                      Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Local Rule 9013-1(i).

                                                       /s/ Christine A. Okike
                                                       Christine A. Okike, P.C.

                                      Certificate of Service

        I certify that on June 7, 2021, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                       /s/ Christine A. Okike
                                                       Christine A. Okike, P.C.
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                           EXHIBIT A

                Cash Management System Schematic
Draft – Subject to Revision                    Case 21-31861 Document 18 Filed in TXSB on 06/07/21 Page 27 Concentration
                                                                                                           of 32         account

                                                                                                                        Receives funds from concentration accounts
     Katerra Inc.
                                                                                                                        Sends funds to concentration accounts
     Simplified Cash Management System Schematic

                                                                                                                                    Katerra Inc.
                                                                                    Katerra Inc. (Cayman)
                                        Restricted                                                                           Utility Deposit Account
                Letters of
                                          Cash
                                                                                     Wells Fargo ***5544
                 Credit                                                                                                       Wells Fargo ***8990
                                        Accounts

                                                                                     Funds as necessary



                                                                                      Katerra Inc.
                                                                                    Master Funding
                                                                             Delaware Concentration Account
                                                                                  Wells Fargo ***5536


                      Katerra Inc.
                                                                                                                            AP Accounts:
                   Payroll Account
                                                                                                                   ZBAs for approved payment runs
                  Wells Fargo ***0847


                     Katerra Inc.                                                         Cash sweep
             Insurance Reserve Account
                 Wells Fargo ***4459                                                                                             AP;
                                                                                                                              Disburse-
                                                                                                                               ments




                 Katerra Construction LLC                                        AR / Collection Accounts:            Katerra Construction LLC
                   AR Lockbox Account                                          Each BU has its own collection          Concentration Account
                   Wells Fargo ***8404                                                    account                       Wells Fargo ***1068


                                                                                                                      Katerra Architecture LLC*
                                                           Customer                                                    Concentration Account
                                                           Payments
                                                                                                                        Wells Fargo ***1010



   * Katerra Architecture LLC is generally inactive and does not interact with other accounts on a regular basis
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                           EXHIBIT B

                          Bank Accounts
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                                                            Last 4 Digits of
Legal Entity                          Bank Name                                Account Type
                                                            Account Number

Dangoo Electronics (USA) Co., Ltd.    Bank of America       9526               Accounts Receivable

Dangoo Electronics (USA) Co., Ltd.    Bridge Bank           3909               Accounts Receivable

Katerra Construction LLC              Citibank, N.A.        6418               Accounts Receivable

Katerra Architecture LLC              Citibank, N.A.        6426               Accounts Receivable

Skyview Concrete LLC                  Citibank, N.A.        6434               Accounts Receivable

Katerra Inc. (Delaware)               Citibank, N.A.        6442               Accounts Receivable

Dangoo Electronics (USA) Co., Ltd.    Citibank, N.A.        5672               Operating Account

Katerra Inc. (Delaware)               Citibank, N.A.        0187               Payroll Account

Katerra Construction LLC              Citibank, N.A.        2332               Accounts Payable

Katerra Architecture LLC              Citibank, N.A.        2367               Accounts Payable

Katerra Inc. (Delaware)               Citibank, N.A.        2375               Accounts Payable

Skyview Concrete LLC                  Citibank, N.A.        2383               Accounts Payable

Dangoo Electronics (USA) Co., Ltd.    Citibank, N.A.        0908               Accounts Receivable
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                                                               Last 4 Digits of
Legal Entity                          Bank Name                                   Account Type
                                                               Account Number

Katerra Inc. (Delaware)               HSBC Holdings PLC        1031               Operating Account

Katerra Inc. (Delaware)               HSBC Holdings PLC        0311               Business Savings Account

                                      Institutional Cash
Katerra Inc. (Delaware)                                        1081               Money Market Fund
                                      Distributors LLC (ICD)

Katerra Construction LLC              TD Bank, N.A.            9427               Checking Account

Katerra Construction LLC              TD Bank, N.A.            3219               Operating Account

Katerra Architecture LLC              Wells Fargo Bank, N.A.   1010               Concentration Account

Katerra Inc. (Delaware)               Wells Fargo Bank, N.A.   4459               Collective Health

Katerra Inc. (Delaware)               Wells Fargo Bank, N.A.   5536               Concentration Account

Katerra Inc. (Cayman)                 Wells Fargo Bank, N.A.   5544               Holding Account

Lord Aeck & Sargent, Inc.             Wells Fargo Bank, N.A.   0699               Accounts Payable

Katerra Inc. (Delaware)               Wells Fargo Bank, N.A.   8990               Accounts Receivable

Katerra Inc. (Delaware)               Wells Fargo Bank, N.A.   9006               FSA Account

Katerra Construction LLC              Wells Fargo Bank, N.A.   8404               Accounts Receivable



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                                                                Last 4 Digits of
Legal Entity                           Bank Name                                   Account Type
                                                                Account Number

Katerra Architecture LLC               Wells Fargo Bank, N.A.   6953               Accounts Receivable

Dangoo Electronics (USA) Co., Ltd.     Wells Fargo Bank, N.A.   4305               Accounts Receivable

Katerra Construction LLC               Wells Fargo Bank, N.A.   1068               Concentration Account

Skyview Concrete LLC                   Wells Fargo Bank, N.A.   5815               Accounts Receivable

Katerra Construction LLC               Wells Fargo Bank, N.A.   1733               Accounts Receivable

UEB Builders, Inc.                     Wells Fargo Bank, N.A.   2012               Accounts Receivable

Dangoo Electronics (USA) Co., Ltd.     Wells Fargo Bank, N.A.   6809               Accounts Receivable

Katerra Construction LLC               Wells Fargo Bank, N.A.   2783               Accounts Receivable

Katerra Inc. (Delaware)                Wells Fargo Bank, N.A.   0847               Payroll Account

Katerra Architecture LLC               Wells Fargo Bank, N.A.   0862               Accounts Payable

Katerra Construction LLC               Wells Fargo Bank, N.A.   0880               Accounts Payable

Katerra Inc. (Delaware)                Wells Fargo Bank, N.A.   0898               Accounts Payable

Katerra Construction LLC               Wells Fargo Bank, N.A.   1104               Accounts Payable



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                                                                Last 4 Digits of
Legal Entity                           Bank Name                                   Account Type
                                                                Account Number

Skyview Concrete LLC                   Wells Fargo Bank, N.A.   1108               Accounts Payable

Katerra Construction LLC               Wells Fargo Bank, N.A.   1124               Accounts Payable

Katerra Construction LLC               Wells Fargo Bank, N.A.   1132               Accounts Payable

UEB Builders, Inc.                     Wells Fargo Bank, N.A.   1015               Accounts Payable

Katerra Construction LLC               Wells Fargo Bank, N.A.   8727               Accounts Payable




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